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                                              March 8, 2024

VIA ELECTRONIC MAIL
Supreme Labor Source, LLC
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WYOMING NATIONAL LOGISTICS
d/b/a Servpro of Douglas County,via counsel
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       RE:     ANA DAVIS v. Wyoming National Logistics and SUPREME LABOR SOURCE
              et al.; 3:23-cv-00046-KC; Discovery Deficiencies Letter

Dear COUNSEL:

        As you are all aware, Defendants have failed to produce relevant and responsive documents
which have been identified as existent and not produced by defense witnesses deposed this week.
What follows is Plaintiff’s request for immediate supplemental production of the following deficient,
previously requested documentation that Defendants have yet to produce yet was identified and
available from Defendants. If Plaintiff does not receive this documentation by 10:00 a.m. MST on
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Monday, March 11, 2024, Plaintiff will have no choice by to file a Motion to Compel this
documentation with the Court.

      1) Reporting to an insurance carrier by SUPREME LABOR SOURCE LLC (herein
         “SUPREME”) related to the onsite death of an employee at the “Ft. Bliss Project” as
         described and identified in the parties’ depositions, as well as any documentation
         associated with SUPREME’S payment of funds to the employees’ family.

      2) Supreme’s reporting to any insurance carrier regarding any covid related deaths of
         employees at the FT. BLISS PROJECT, including but not limited to LAURA
         LUEVANO.

      3) SUPREME’S COVID roster for the Ft. Bliss Project.

      4) SUPREME’S Sick Leave Roster for the Ft. Bliss Project.

      5) Any and all HHS identified color coded rosters for the time period of March 2021 to 2023.

      6) Documentation reflecting the pay for URIEL RAMOS and EBERTO MILLAN related to
         the FT. BLISS project, inclusive of any additional pay above the GL pay received
         respectively by both employees from Defendants.

      7) Documentation reflecting HOUSING ACCOMMODATIONS provided for URIEL
         RAMOS and EBERTO MILLAN related to the FT. BLISS project, located in EL PASO
         TEXAS for the duration of their work on the project.

      8) SERVPRO of DOUGLAS COUNTY LLC’s (herein “SERVPRO”) contract for services,
         and/or “PURCHASE ORDERS” from RDI to Servpro and/or WYOMING NATIONAL
         LOGISTICS for the Ft. Bliss Project.

      9) Documentation reflecting service as a subcontractor for SERVPRO and/or WYOMING
         NATIONAL LOGISTICS on the Ft. Bliss Project for RAPID.

      10) Documentation related to the “confidentiality agreement” entered into by SERVPRO
          and/or WYOMING NATIONAL LOGISTICS related to the FT. BLISS PROJECT.

      11) Documentation related to “NTP” related documentation received by SERVPRO and/or
          WYOMING NATIONAL LOGISTICS related to the FT. BLISS PROJECT.

      12) Documentation related to “CLIN” related documentation received by SERVPRO and/or
          WYOMING NATIONAL LOGISTICS related to the FT. BLISS PROJECT.

      13) Franchise exit documentation from SERVPRO prior to becoming WYOMING
          NATIONAL LOGISTICS.

      14) Documentation related to permanent staff lists retained and/or created by SERVPRO
          and/or WYOMING NATIONAL LOGISTICS related to the FT. BLISS PROJECT.

      15) Incident reports related to the Ft. Bliss Project from May 2021 to in and around January
          2022.
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      16) Significant incident reports related to the Ft. Bliss Project from May 2021 to in and around
          January 2022.

      17) Incident reports related to ANA DAVIS regarding her employment at the Ft. Bliss Project.

      18) Significant incident reports related to ANA DAVIS regarding her employment the Ft.
          Bliss Project from May 2021 to in and around January 2022.

      19) Tracked poor or “bad” attendance related to employees at the FT. BLISS PROJECT.

      20) Shift change meeting notes related to ANA DAVIS.

      21) EMPLOYEE ROSTER sheets sent to supreme as a call back list for Nov. 2021 through
          end of project.

      22) Activity tracking sheets created by WYOMING related to the FT. BLISS PROJECT.

      23) CONTENTS of ANA DAVIS’S EMPLOYEE FILE.

      24) Contents of LINA ARTEADA’S EMPLOYEE FILE.

      25) Contents of COLLIN TENNESSON’S employee file.

      26) Employee grievances filed during 2021.

      27) ALL CODE OF CONDUCTS related to the FT. BLISS PROJECT.

      28) List identifying attendance and resignation for the FT. BLISS PROJECT.

      29) ANY reports verbal and/or written related to ANA DAVIS and/or LINA ARTEADA.

      30) DISCIPLINE WARNINGS FOR YCW and YCW LEADS including but not limited to
          counseling statements for the FT BLISS PROJECT.



      Thank you for your time and consideration. As always, I may be reached at
syhlaw@outlook.com and/or (915) 491-6181.
